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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)

    DAVID J. BOSHEA                                 *

            Plaintiff,                              *

            v.                                      *         Case No. 1:21-CV-00309-ELH
    COMPASS MARKETING, INC.                         *

            Defendant.                              *

                                                    *
    *       *       **     *      *      *      *         *       *        *   *     *         *

                               AMENDED JOINT PRETRIAL ORDER

           David Boshea and Compass Marketing, Inc. for their Pretrial Order, brought in accordance

with the Court’s December 12, 2022 Order (ECF 145), as amended by the May 12, 2023 Order

(ECF 163) and the Court’s standing order on the preparation of final pretrial orders state:

                                      STATEMENT OF FACTS 1            0F




                          DAVID BOSHEA’S STATEMENT OF FACTS THAT HE
                          PROPOSES TO PROVE IN SUPPORT OF HIS CLAIMS

1. David Boshea is a resident of the state of Illinois.

2. Compass Marketing, Inc. is a Virginia corporation headquartered in Maryland.

3. From its inception through the date of David Boshea’s termination, Compass focused its

        business on providing services to companies in the consumer packaged goods industry.

4. In the early 1990’s, John White worked under David Boshea at Advantage Sales & Marketing,

        at which time David Boshea mentored John White.




1
  Each party has separately put forth their own statement of facts and do not agree to the
characterizations set forth by the other party.
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5. Subsequently, John White, his brothers, Michael and Daniel, and another person formed

   Compass.

6. David Boshea wrote Compass’ business plan and assisted John White and Compass in

   obtaining its first customer.

7. Subsequently, John White, as Compass’ CEO, regularly solicited David Boshea to join

   Compass. However, David Boshea declined since he held significant positions with well-

   known large corporations.

8. In early 2007, John White intensified Compass’ pursuit of David Boshea.

9. In an April 1, 2007 email, John White emailed David Boshea to solicit him to join Compass in

   a senior position and introduced the idea of David Boshea receiving g an exit package:

       Also, you and I need to make sure we discuss an exit plan for you, even seperate [sic] from
       me selling Compass. We need to respect that we are friends and that working together could
       possibly hurt our relationship (has not happened before but I was always working for
       you!!!!). I just want to define expectations up front so we limit the chances of getting on
       two different tracks, but I want us both to agree how we can spit if we need to so we can
       be certain to save our friendship [sic].

       April 1, 2007 email from John White to David Boshea.

10. At that time, David Boshea was highly successful in the consumer packaged goods industry,

   holding a National Account Manager position with Energizer Holdings, Inc., the battery

   company.

11. David Boshea prepared and delivered to Compass a memo outlining the items he would need

   to consider, including contract terms, before deciding to join Compass.

12. On multiple occasions, including one on which his brother, Daniel, joined him, John White

   flew to Chicago to sell David Boshea on joining Compass.

13. On May 16, 2007, John White sent an offer letter on Compass’ behalf in which Compass

   promised David Boshea a $180,000.00 annual salary, a bonus, health insurance, a car


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   allowance, a 401k, a home office expense, a laptop, a copy machine, and reimbursement of all

   business-related travel expenses, plus two weeks’ vacation in 2007 and three-weeks in 2008.

   In addition, in the letter, Compass offered to pay 100% percent of business-related country

   club membership fees up to $32,000.00 over three years and “an involuntary exit package’ of

   3 times your salary (1 year will be immediately vested, with the additional 2 years accrued

   over the next three years).”

14. After David Boshea received the May 16, 2007 letter, he and Compass agreed to the terms

   outlined in ¶9 above.

15. During that month, David Boshea and Compass, through John White, signed an agreement

   titled “Compass Marketing, Inc. Agreement Related to Employment and Post-Employment

   Compensation.”

16. As evidence of the parties’ agreement, John White blind-copied his brother, Daniel White, on

   a May 22, 2007 email John White sent at 1:24 a.m. to David Boshea, including a draft Word

   version of the same severance agreement referenced in ¶11 above as an attachment.

17. As evidence of the parties’ agreement, John White provided Lawrence Scott, its then general

   counsel, with a version of the same severance agreement referenced in ¶11 above as an

   attachment.

18. The parties’ agreement provides that if David Boshea is terminated for any reason other than

   for cause, David Boshea will receive severance payments totaling $180,000.00 paid over 24

   months, commencing on his effective date of termination, and paid in accordance with

   Compass’ normal payroll cycle.

19. The parties’ agreement further provides that David Boshea’s severance will increase one month

   for every month he is employed with Compass to a maximum severance of $540,000.00.



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20. Because David Boshea was leaving his employment with Energizer Holdings, Inc., one of the

   world's largest manufacturers of batteries, to join Compass, a relatively small firm, the

   severance package was a strong driver in his decision to join Compass.

21. David Boshea began working at Compass Marketing on or around June 5, 2007.

22. Compass hired John Adams in 2007 and provided a written severance agreement bearing the

   same title as David Boshea’s severance agreement and containing terms substantially similar

   to those in David Boshea’s agreement.

23. Mr. Adams with the right to receive $120,000.00 in severance payments.

24. As Executive Vice President, David Boshea reported directly to John White, Compass’ CEO,

   while John Adams described himself as being on a lower tier in Compass’s flow chart.

25. Compass’ regular payroll schedule involved twice monthly payments of salary or wages.

26. Compass had struggled financially for several years before Compass terminated David Boshea.

27. In 2019 and 2020, David Boshea engaged with Walgreens to open a new line of business for

   shelf tags.

28. In October 2019, the company Compass intended to use to produce shelf tags abruptly

   terminated its relationship with Compass.

29. Notwithstanding that termination, John White instructed David Boshea to move forward with

   the Walgreen shelf tag project, which would have allowed Compass to earn substantial profits.

30. On the day Compass terminated David Boshea, David Boshea had scheduled an important

   meeting with Walgreens to move the proposal to a commitment.

31. When Compass terminated David Boshea, Jerry Cain and Erin Songer of Compass told him

   that the only reason for firing him was a reduction in force, which was confirmed in a March




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   3, 2020 letter from Compass, which stated, “Regrettably, your position was one of the positions

   selected to be eliminated due to a necessary reduction in force.”

32. After receiving the termination letter, David Boshea attempted to contact John White, but John

   White did not take his calls, respond to his emails, or otherwise contest David Boshea’s

   demand.

33. David Boshea also sent Erin Songer an email on March 16, 2020 with a copy to John White,

   reminding him that Compass needed to pay the severance he was owed. He wrote:

         Hope your [sic] well. In follow up I wanted to follow up on my Compass exit payments:
         …
         “Misc Payments : My exit plan agreement with John White $540,000 earned after 3 years
         of service ( John White has agreement), …

         (March 16, 2020 email.

34. No one at Compass ever disputed David’s email request or even responded to it.

35. David Boshea’s relationship with John White became particularly strained in the fall of 2019

   after John White asked David Boshea to fly to Saudi Arabia with him and some other members

   of the Compass team to participate in a trip to raise investor money for a defunct company,

   Tagnetics.

36. David Boshea knew that Tagnetics had not been an active company for several years.

37. David Boshea did not want to be involved with raising investor funds for a defunct company,

   so he declined to join the trip.

38. The following spring, after nearly thirteen (13) years with the company, Compass eliminated

   David Boshea’s position, i.e., Executive Vice President.

39. Compass employed David Boshea from May 2007 until March 2020, approximately 155

   months before his involuntary termination.



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40. Despite David Boshea’s repeated demands, Compass has failed to pay him any of the severance

   pay it owed.

41. Compass has never claimed David Boshea failed to perform his obligations under the

   Agreement.

42. Under the terms of the Agreement, Compass was obligated to pay David Boshea severance

   payments through the end of February 2021.

43. Compass’ CEO, John White, admits that he has no recollection of what terms he and David

   Boshea discussed when Compass hired him.

44. John White remembers nothing about his negotiations with David Boshea.

45. John White does not recall if David Boshea had a severance agreement.

46. Despite having no recollection of what he promised on Compass’ behalf, John White claims

   he would never have agreed to the amount of severance contained in the severance agreement

   because it involved an extraordinarily large amount of money.

              DAVID J. BOSHEA’S LEGAL THEORIES IN SUPPORT OF EACH CLAIM

Count I - Breach of Contract –David Boshea is entitled to severance payments owed to him by

Compass. The first part of the theory is that David Boshea can recover through his and Compass’

agreement titled, “Compass Marketing, Inc. Agreement Related to Employment and Post-

Employment Compensation,” which David Boshea and Compass signed in May 2007. Second,

David Boshea is entitled to severance payments owed to him by Compass under an oral agreement

made by David Boshea for himself and John White on Compass’ behalf as its CEO. The above

agreement, whether or not signed, John White’s email and letter include the terms of the parties’

oral agreement.




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Count II – Violation of Maryland Wage Payment and Collection Law – As a result of the

agreement for the payment of Post-Employment Compensation, whether signed or oral, David

Boshea is entitled to recover wages owed to him under the Maryland Wage Payment and Collection

Law (the “MWPCL”). The MWPCL provides that severance payments fall within the definition

of “wages.” Under the MWPCL, Compass is an “employer,” and David Boshea is an “employee.”

The documents and testimony will show that Compass has no basis to believe it does not owe the

wages to David Boshea or that, in any event any such claim of its belief is not objectively

reasonable. Because no bona fide dispute exists concerning the severance payments owed to David

Boshea, he is entitled to an award of up to three times the wages owed by Compass, reasonable

counsel fees, and his costs subject to the Court’s discretion.


                      COMPASS MARKETING, INC.’S STATEMENT OF FACTS

       Compass Marketing plans to prove that when the company hired David Boshea in 2007,

Compass Marketing never entered into any agreement with David Boshea that called for the

payment of severance upon the termination of David Boshea’s employment. Compass Marketing

further plans to prove that the alleged 2007 agreement, relied on by David Boshea, is fraudulent

and was never offered to David Boshea. Compass Marketing further plans to prove that the

signature on the agreement purporting to be John White’s signature is a forgery. Because the

agreement is fraudulent, it is unenforceable and David Boshea is not entitled to any relief.

       Ultimately, Compass Marketing plans to show that the claim brought by David Boshea is

part of a severance scheme being perpetrated by Daniel White, George White, and Michael White

in collaboration with David Boshea in an attempt to defraud the company of funds and as part of

the White’s effort to dissolve and destroy the company.




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                    DAVID BOSHEA’S STATEMENT CONCERNING THE NEED
                TO MAKE ANY AMENDMENTS TO THE PLEADINGS HE HAS FILED

1. David Boshea does not request leave to amend any pleadings.

                COMPASS MARKETING, INC’S STATEMENT CONCERNING THE NEED
                 TO MAKE ANY AMENDMENTS TO THE PLEADINGS IT HAS FILED

1. Compass Marketing does not request leave to amend any pleadings.

                        DAVID BOSHEA’S STATEMENT CONCERNING THE
                          NEED TO ABANDON ANY OF HIS PLEADINGS

1. Based on the Court’s March 31, 2023 order (Dkt 161, David Boshea withdraws Count III of

   his pending complaint.

                 COMPASS MARKETING, INC.’S STATEMENT CONCERNING THE
                        NEED TO ABANDON ANY OF ITS PLEADINGS

       1.      Based on Defendant’s inability to obtain certain evidence in discovery, Defendant

reluctantly is withdrawing its counterclaim and third-party complaint.

                                 PROPOSED STIPULATED FACTS

       1.      David Boshea is a resident of the state of Illinois.

       2.      Compass Marketing is a Virginia corporation headquartered in Annapolis,

Maryland.

       3.      Compass Marketing terminated David Boshea’s employment in March 2020.

                  DAVID BOSHEA’S DETAIL OF DAMAGES OWED BY COMPASS

   Count I - Breach of Contract – David Boshea is entitled to recover $540,000.00 in severance

   payments. He calculated his damages by multiplying his $180,000.00 salary by three since he

   remained employed by Compass for more than thirty-six months, as outlined in his agreement

   with Compass.

   Count II – Violation of Maryland Wage Payment and Collection Law – David Boshea is

   entitled to wages owed to him in the form of severance payments under the Maryland Wage

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    Payment and Collection Law (the “Law”) of $1,620,000.00, which is equal to three times the

    wages owed to him by Compass. He is also entitled to receive reasonable counsel fees and his

    costs.

                                DAVID BOSHEA’S EXHIBIT LIST 2   1F




                                         See Exhibit A

                    COMPASS MARKETING, INC.’S PROPOSED EXHIBIT LIST 3           2F




                                         See Exhibit B

                               DAVID BOSHEA’S WITNESS LIST 4         3F




    Name                   Contact Information                            Expected to Call or
                                                                          May be Called?

    David Boshea           Who may be contacted through his Expected to Be Called
                           counsel.

    John White             Who may be contacted             through Expected to Be Called
                           Compass’ counsel.

    Michael White          39650 Hiawatha Circle, Mechanicsville,         May Be Called
                           Maryland 20659, (301) 481-5986

    Daniel White           21900 Fairway Drive, Leonardtown,              May Be Called
                           Maryland 20650, (240) 298-6156.




2
  Compass Marketing does not agree that any of David Boshea’s proposed exhibits may be offered
in evidence without the usual authentication. Compass Marketing further reserves its right to
object to each exhibit and does not waive any objections to the admissibility of any proposed
exhibit by David Boshea.
3
  Except as specifically noted, David Boshea does not agree that any of Compass’ proposed
exhibits may be offered in evidence without the authentication under the Federal Rules of
Evidence. Except as specifically noted, David Boshea further reserves his right to object to each
exhibit and does not waive any objections to the admissibility of any exhibit proposed by Compass.
4
  Compass Marketing intends to object to the presentation of testimony from certain potential
witnesses identified by David Boshea, on one or more grounds, including, but not limited to,
certain witnesses were not properly identified prior to the submission of this Pre-Trial Order and
improper communications with the company’s former counsel.
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John Adams             Who may be contacted            through Expected to Be Called
                       Compass’ counsel.

John Mancini           (717) 465-5645                           May Be Called

Compass Keeper of      Who may be contacted            through May Be Called
Payroll Records and    Compass’ counsel.
Documents

Donna Eisenberg        Who may be contacted through David       Expected to Be Called
                       Boshea’s counsel.

                      COMPASS MARKETING, INC.’S WITNESS LIST

Name                   Contact Information                      Expected to Call or
                                                                May be Called?

John White             Contact through counsel                  Expected to be Called

David Boshea           Contact through counsel                  May be Called

Julie Boshea           222 South Mill Street, Naperville Illinois May be Called
                       60540 (630) 355-8100

Rebecca Obarski        222 South Mill Street, Naperville Illinois May be Called
                       60540

Michael White          39650 Hiawatha Circle, Mechanicsville, May be Called
                       Maryland (301) 481-5986

Daniel White           21900 Fairway Drive, Leonardtown, May be Called
                       Maryland 20650 (240) 298-6156

George White           15125 Woodville Road, Waldorf, May be Called
                       Maryland 20601 (240) 419-2340

Jerry Cain             Contact through counsel                  May be Called

Erin Songer            Contact through counsel                  Expected to be Called

Lou Fernandez          Contact through counsel                  May be Called

Jonathan Staples       Contact through counsel                  May be Called

Debra White            39650 Hiawatha Circle, Mechanicsville, May be Called
                       Maryland



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   Kelly White            21900 Fairway Drive, Leonardtown, May be Called
                          Maryland


   Jeffrey Payne          Contact through counsel                    Expected to be Called

   Custodian of                                                      May be Called
   Records for Verizon
   Wireless

                IDENTIFICATION OF EXPERTS DAVID BOSHEA EXPECTS AND THE
               SPECIALTIES OF THE EXPERT HE PROPOSES TO CALL AS A WITNESS

1. Donna Eisenberg of Forensic Document Examiner Services, LLC, who specializes in

   document and handwriting investigation and analysis.

          IDENTIFICATION OF EXPERTS COMPASS MARKETING, INC. EXPECTS AND THE
              SPECIALTIES OF THE EXPERT IT PROPOSES TO CALL AS A WITNESS

1. Jeffrey Payne - Certified Document Examiner

                   DAVID BOSHEA’S DESIGNATION OF DEPOSITION TESTIMONY

1. David Boshea designates the following portions of John Adams’ October 28, 2021 Deposition

   Cover Page along with Page and line numbers: 4:8-18, 5:3-5, 6:6-13, 7:15-21, 8:7-14, 12:9-12,
   15:9-24, 16:1-20 and 24, 17:1-9, 20:7-24, 21:1-10, 22:3-18 and 22-24, 23:1-18 and 23-24,
   24:1-14, 25:3-14 and 22-24, 26:20-24, 27:1-11, 30:5-24, 31:1-24, 32:1-24, 33:1-24, 34:1-24,
   35:1-24, 36:1-12, 42:21-24, 43:1-24, and 44:1-24

2. David Boshea designates the following portions of John White’s May 18, 2023 Deposition:

    Cover Page along with Page and line numbers: 5:18-24, 6:1-5 and 9-12, 7:15-24, 8:2 and 11-
   15, 41:16-24, 42:1-7 and 12-15, 43:10-13, 44:12-15, 45:10-19, 47:7-13, 48:3-24, 49:1-15,
   54:12-15 and 18-23, 56:19-24, 57:1-24, 58:12-24, 59:1-10 and 23-24, 60:1-13, 61:1-4 and 13-
   21, 62:6-15, 83:4-24, 84:1-14, 85:2-8 and 20-24, 86:1-24, 102:8-19 and 24, 103:1-14 and 20-
   24, 104:1-14, 105:11-17 and 23-24, 106:1-12, 107:4-24, 108:1-16 and 22-24, 109:1-24, 110:1-
   24, 111:1-22, 112:2-24, 113:1-24, 114:1-24,115:1-7 and 19-22, 116:15-21, 119:11-16, 120:16-
   24, 121:1-4 and 15-24, 122:1-3 and 12-23, 123:10-16, 125:6-16, 126:2-6, 127:17-24, 128:1-6
   and 11-24,129:1-24, 130:1, 131:20-24,132:1-24, 133:1-2, 138:23-24, 139:1-8, 140:14-
   23,151:20-24, 156:18-21, 158:11-18, 165:7-10, 170:1-4, 171:17-22, 179:1-8, 182:1-24,183:1-
   11, 190:3-6. 205:6-11, 207:14-17, 207:21-24, 208:1-6




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             COMPASS MARKETING, INC.’S OBJECTIONS AND , IN THE ALTERNATIVE,
              COUNTER-DESIGNATIONS TO JOHN ADAMS’ DEPOSITION TESTIMONY

I.     Compass Marketing’s Objections

       A.     General Objection to the Entirety of John Adams’ Deposition Designations

       Compass Marketing generally objects to the designations of John Adams’ deposition

testimony on relevance grounds, as John Adams’ deposition testimony is irrelevant as to whether

Compass Marketing entered into an agreement with David Boshea that included a provision that

called for the payment of severance upon the termination of David Boshea’s employment. The

testimony would confuse the jury and it would be more prejudicial than probative.

       B.     Objections to Specific Designations for John Adams’ Deposition Testimony

       Designation: Pg 7:15-21
       Objection: Line 15 is not part of a question.

       Designation: Pg 8:7-14
       Objection: Line 7 is not part of a question.
       Objection: These lines acknowledge a standing objection to any documents subpoenaed
       by David Boshea from John Adams. Compass Marketing objects to any documents
       introduced by David Boshea that he attached to John Adams’ subpoena and any documents
       introduced during the deposition as having been produced by John Adams on authenticity
       grounds.

       Designation: Pg 22:3-18
       Objection: Relevance; Hearsay; Authentication.

       Designation: Pg 24:1-14
       Objection: Lines 12-14 are a question with no answer; there is no testimony.

       Designation: Pg 27:24 through Pg 28:16
       Objection: Relevance; Hearsay

       Designation: Pg 30:5 through Pg 36:12
       Objection: Relevance; Authentication; Hearsay

       Designation: Pg 42:21 through Pg 44:24
       Objection: Relevance; Hearsay
       Objection: Pg 44:2-24 – In addition to Relevance and Hearsay, Form and Asked and
       Answered (which are noted in the transcript)

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         C.         General Objection to the Entirety of John White’s Deposition Designations

         Compass Marketing generally objects to the designations of John White’s deposition

testimony, as John White is subject to the subpoena power of this Court and will be available to

testify at trial.

II.      Compass Marketing’s Counter Designations, in the Alternative

         Compass Marketing reserves the right to determine at trial whether it would like to have

the following counter-designations from John Adams’ deposition testimony read into the record:

         Pg 46:18 through Pg 47:4

         David Boshea objects to Compass Marketing’s reservation.

                              PRETRIAL MATTERS, INCLUDING MOTIONS FILED

         1.         There are no current motions pending by either party. The parties preserve their
                    rights with respect to the issues decided by the Court in connection with the parties’
                    various in limine motions.

                                             OTHER MATTERS

         1.         Compass Marketing asks that the Court take judicial notice of the fact that the

Circuit Court of Maryland for Anne Arundel County made a finding that “immediately following

his resignation [from Compass Marketing] George White and Michael [White] still had access to

the [Compass Marketing] network.”5




         5
          David Boshea objects to the Court taking judicial notice as Compass Marketing has
requested. The matter on which Compass Marketing seeks judicial notice is not appropriate for
consideration and thus requests that the Court strike the request from the final Pretrial Order used
at trial.
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       2.      David Boshea requests that the Court take judicial notice that Maryland law

generally and the Maryland Wage Payment and Collection Law governs in this lawsuit based on

the Court’s March 31, 2023 order (Dkt 161). 6
                                            4F




Respectfully submitted,

Dated: October 18, 2023



 /s/ Gregory J. Jordan                           /s/ Stephen B. Stern
 Gregory J. Jordan                               Stephen B. Stern, Bar No.: 25335
 Mark Zito                                       Shannon M. Hayden, Bar No.: 30380
 Jordan & Zito, LLC                              KAGAN STERN MARINELLO & BEARD, LLC
 350 N. LaSalle Drive, Suite 1100                238 West Street
 Chicago, Illinois 60654                         Annapolis, Maryland 21401
 Email: gjordan@jz-llc.com                       (Phone): (410) 216-7900
                                                 (Fax): (410) 705-0836
 and                                             Email: stern@kaganstern.com
                                                 Email: hayden@kaganstern.com
 Thomas J. Gagliardo
 Gilbert Employment Law, PC                      and
 1100 Wayne Avenue, Suite 900
 Silver Spring, Maryland 20910                   Brian A. Tollefson, Bar No. 16289
 Email: tgagliardo@gelawyer.com                  TOLLEFSON IP
                                                 326 First Street, #202
 Attorneys for Plaintiff                         Annapolis, Maryland 21403
 David Boshea                                    (Phone): (443) 699-2450
                                                 Email: brian@tollefsonip.com

                                                 Counsel for Defendant/Counter-Plaintiff
                                                 Compass Marketing, Inc.




       6
         Compass Marketing, Inc. objects to the Court’s taking judicial notice as David Boshea
has requested. The matter on which David Boshea seeks judicial notice is not appropriate for
consideration.
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                                      EXHIBIT A

                            DAVID BOSHEA’S EXHIBIT LIST

EXHIBIT                   DESCRIPTION             EXPECTED TO       ENTERED INTO
NUMBER                                            OFFER OF MAY BE   EVIDENCE
                                                  OFFERED?          WITHOUT
                                                                    OBJECTION
Boshea Exhibit 1   David Boshea Resume            Expect to Offer

Boshea Exhibit 2   April 1, 2007, John White Expect to Offer
                   email to David Boshea

Boshea Exhibit 3   David Boshea April      2007 Expect to Offer
                   Memo to John White

Boshea Exhibit 4   May 16, 2007 John White offer Expect to Offer
                   letter to David Boshea

Boshea Exhibit 5   John White May 22, 2007 Expect to Offer
                   email to David Boshea blind
                   copied to Daniel White and
                   forwarded to Michael White

Boshea Exhibit 6   John White May 22, 2007 Expect to Offer
                   email attachment sent to David
                   Boshea attached to Boshea
                   Exhibit 5

Boshea Exhibit 7   John White May 22, 2007 Expect to Offer
                   email information page for
                   attachment sent to David
                   Boshea

Boshea Exhibit 8   Compass Marketing, Inc. Expect to Offer
                   Agreement    Related    to
                   Employment    and    Post-
                   Employment Compensation

Boshea Exhibit 9   John   Adams       Severance Expect to Offer
                   Agreement

Boshea Exhibit 10 Pat Nemetz Post Employment Expect to Offer
                  agreement

Boshea Exhibit 11 Shanda Trogdan Employment Expect to Offer
                  Agreement
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Boshea Exhibit 12 David Boshea 09-16-2015           Expect to Offer
                  Notes

Boshea Exhibit 13 Group Exhibit David Boshea        Expect to Offer
                  01/3/17 Paystub and email
                  chain with Michael White
Boshea Exhibit 14 David Boshea Payroll Records      Expect to Offer
Boshea Exhibit 15 Compass Termination Notice        Expect to Offer

Boshea Exhibit 16 David Boshea March 12, 2020 Expect to Offer
                  email to John White

Boshea Exhibit 17 March 16, 2020 Email from         Expect to Offer
                  David Boshea to Erin Songer
                  Re: Follow Up on Separation

Boshea Exhibit 18 David Boshea October 22, Expect to Offer
                  2020 email to John White

Boshea Exhibit 19 David Boshea December 7, Expect to Offer
                  2020 email to John White

Boshea Exhibit 20 Donna       Eisenberg    Expert Expect to Offer
                  Report

David Boshea adopts as one of his exhibits each exhibit offered by Compass to which he has
stated that he has no objection to its entry into evidence




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                                             Exhibit B *
                                                       5F




                      Compass Marketing, Inc.’s Proposed Exhibit List

    EXHIBIT           DOCUMENT                 BATES        EXPECTED TO      ENTERED INTO
    NO.                                        LABEL OR     OFFER OF MAY     EVIDENCE
                                               IDENTIFIC    BE OFFERED?      WITHOUT
                                               ATION                         OBJECTION
              March 2, 2020 David Boshea       CM 0001-     Expected to      No objection
              Termination Letter &             0004         Present
              Proposed Severance
              Agreement
              May 24, 2007 Email from          CM 0101      Expected to
              David Boshea to Michael                       Present
              White Re: Follow Up
              June 12, 2007 Salary             CM 0107      May Present
              Reduction Form for David
              Boshea January 1, 2007
              through December 31, 2007
              Maryland New Hire Registry       CM 0108      May Present      No objection
              Reporting Form
              Illinois Withholding             CM 0110      Expected to      No objection
              Allowance Worksheet                           Present
              March 5, 2020 Email from         CM 0120      Expected to
              Rebecca Obarski to John                       Present
              White Re: David Boshea
              Employment Terms
              March 5, 2020 Email from         CM 0119      Expected to
              Rebecca Obarski to Erin                       Present
              Songer Re: Personnel File of
              David Boshea
              March 16, 2020 Email from        CM 0121      Expected to      No Objection
              David Boshea to Erin Songer                   Present
              Re: Follow Up on Separation
              May 29, 2020 Email from          CM 0123-     May Present      No Objection
              David Boshea to John White       0124
              FW: Dave Boshea
              Employment Terms
              June 11, 2020 Email from         CM 0125      May Present
              David Boshea to John White
              Re: Loser




*
 Compass Marketing, Inc. reserves the right to add, delete, or otherwise modify this list. David
Boshea objects to Compass’ reservation, which does not comply with the Court’s direction.
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    August 1, 2020 Email from      CM 0126      May Present
    David Boshea to John White
    (No subject)
    August 11, 2020 Email from     CM 0127-     May Present   No Objection
    David Boshea to John White     0128
    FW: Dave Boshea
    Employment Terms
    December 7, 2020 Email from    CM 0137      May Present
    David Boshea to John White
    David Boshea Call Log          CM 0138-     Expected to
                                   0143         Present
    October 31, 2021 John D.                    Expected to
    White Signature Examination                 Present
    by Jeffrey Payne
    October 31, 2021 Rebuttal of                Expected to
    the Findings of Donna O.                    Present
    Eisenberg by Jeffrey Payne
    Jeffrey Payne Updated          CM 0939-     Expected to
    Testimony List                 0941         Present
    January 4, 2021 Text between   01 12 2021   Expected to
    David Boshea, Daniel White,    - 9,12 pm    Present
    and Michael White
    September 16-17, 2020 Text     10 23 2020   May Present
    between David Boshea,          - 4:42 pm
    Daniel White, and Michael
    White
    June 7, 2021 Email from        contracts    Expected to
    David Boshea to Daniel                      Present
    White Re: Contracts
    June 16, 2021 Email from       Untitled     Expected to
    David Boshea to Daniel                      Present
    White (Untitled)
    September 17, 2021 Email       9.17.21      Expected to
    from Gregory Jordan to         11.32am      Present
    Michael White Re: John
    White Signature Samples
    December 28, 2020 Text         MRW0000      Expected to
    Messages between David         03-000004    Present
    Boshea and Michael White
    September 17, 2021 Text        MRW0000      May Present
    Message between David          25
    Boshea, Michael White, and
    Daniel White
    January 12, 2021 Email from    DJW00029     May Present
    Daniel White to Gregory        2-000293
    Jordan Re: David Bsohea

                                     2
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    December 27, 2020 Email         DJW00029       Expected to
    from David Boshea to            4              Present
    Gregory Jordan and Daniel
    White Re: Compass
    David Boshea’s Responses to                    Expected to
    Defendant Compass                              Present
    Marketing Inc.’s First Set of
    Interrogatories to Plaintiff
    David J. Boshea
    David Boshea’s Amended                         Expected to
    Responses to Defendant                         Present
    Compass Marketing’s First
    Set of Interrogatories to
    Plaintiff David J. Boshea
    December 27, 2020 Email         DJW00092       Expected to
    from David Boshea to Daniel     1              Present
    White Re: Greg
    December 22, 2020 Email         DJW00092       May Present
    from David Boshea to Daniel     2-
    White Re: Follow Up             DJW00092
                                    5
    Compass Marketing, Inc.         Received       Expected to
    Agreement Relating to           via            Present
    Employment and Post-            subpoena
    Employment Competition          from R.
    (Unexecuted)                    Obarski
    Compass Marketing, Inc.         Exhibit 3 to   Expected to
    Agreement Relating to           Complaint      Present
    Employment and Post-
    Employment Competition
    (Executed)
    September 17, 2021 Email        DJW00001       Expected to
    from Daniel White to Gregory    1-000020       Present
    Jordan
    September 13, 2021 Email        DJW00031       May Present
    from Gregory Jordan to          2-
    Daniel White Re: Boshea v.      DJW00031
    Compass Marketing, Inc. -       6
    Compass Marketing’s Expert
    Disclosure
    August 15, 2021 Email from      DJW00049       May Present
    Gregory Jordan to Daniel        3-000496
    White Re: Dan Mike
    January 15, 2021 Email from     DJW00052       May Present
    Gregory Jordan to Daniel        5-000526


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    White Re: Local Counsel
    Referral
    December 23, 2020 Email      DJW00053   May Present
    from Gregory Jordan to       5-000536
    Daniel White Re: Follow Up
    September 20, 2021 Email     DJW00058   May Present
    from Gregory Jordan to       1
    Michael White Re:
    Documents
    Compass Marketing, Inc       CM0921-    May Present
    Agreement Relating to        0926
    Employment and Post-
    Employment Competition
    (revision 1)
    Compass Marketing, Inc       CM0927-    May Present
    Agreement Relating to        0932
    Employment and Post-
    Employment Competition
    Compass Marketing, Inc       CM0933-    May Present
    Agreement Relating to        0938
    Employment and Post-
    Employment Competition




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